8:16-cr-00331-JMG-SMB              Doc # 204   Filed: 11/01/17      Page 1 of 1 - Page ID # 646



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                       8:16CR331
                      Plaintiff,

       vs.                                                               ORDER

BERNARDO WILLIAMS-JAUREGUI,

                      Defendant.


       The defendant, Bernardo Williams-Jauregui, has moved to continue the trial (filing no.
202). The motion to continue is unopposed by counsel for the Government. Based on the
showing set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Bernardo Williams-Jauregui's unopposed motion to continue trial
               (filing no. 202) is granted.

       2)      The trial of this case is set to commence before the Honorable John M. Gerrard,
               United States District Judge, in the Special Proceedings Courtroom of the United
               States Courthouse, Omaha, Nebraska, at 9:00 a.m. on December 18, 2017, or
               as soon thereafter as the case may be called, for five days. Jury selection will be
               held at commencement of trial.

       3)      Based upon the showing set forth in the defendant’s motion and the
               representation of counsel, the Court further finds that the ends of justice will be
               served by continuing the trial; and that the purposes served by continuing the trial
               date in this case outweigh the interest of the defendant and the public in a
               speedy trial. Accordingly, the additional time arising as a result of the granting of
               the motion, the time between today’s date, and the anticipated trial, shall be
               deemed excludable time in any computation of time under the requirements of
               the Speedy Trial Act, because despite counsel’s due diligence, additional time is
               needed to adequately prepare this case for trial and failing to grant additional
               time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
               (h)(7). Failing to object to this order as provided under the court’s local rules will
               be deemed a waiver of any right to later claim the time should not have been
               excluded under the Speedy Trial Act.

       November 1, 2017.

                                                      BY THE COURT:

                                                      s/ Michael D. Nelson
                                                      United States Magistrate Judge
